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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

IN RE: SENSIPAR (CINACALCET
HYDROCHLORIDE TABLETS)                 MDL No. 19-2895 (LPS)
ANTITRUST LITIGATION

THIS DOCUMENT RELATES TO:
                                       C.A. No. 19-369 (LPS)
ALL INDIRECT PURCHASER ACTIONS         C.A. No. 19-1461 (LPS)




         AMGEN INC.’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS
           END PAYOR PLAINTIFFS’ CONSOLIDATED COMPLAINT


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                                          INTRODUCTION

        Three organizations that paid for generic or branded Sensipar in only four states are asserting

claims for monetary relief in fifty states and territories on behalf of a class of end payor plaintiffs

(“EPPs”). But binding precedent establishes that standing for a putative class is a threshold issue that

must be determined claim-by-claim and exists only where a named plaintiff has standing. The authority

on which EPPs rely disregards these binding propositions. Accordingly, while every claim in the EPPs’

complaint warrants dismissal for the same reasons that the claims brought by the direct purchaser

plaintiffs (“DPPs”) fail, the majority of the EPPs’ claims also fail because the named plaintiffs lack

standing to bring them. Moreover, nearly all of EPPs’ state-law claims fail for additional reasons as well.

                                             ARGUMENT

I.      Named Plaintiffs Lack Standing Except in the Four States of Alleged Injury

        In an attempt to save their claims under the laws of states in which named plaintiffs do not allege

injury, EPPs argue (1) that alleging Article III standing in one state is sufficient to bring a claim in any

other state; and (2) that this Court should defer its standing decision until the class certification stage.

Yet EPPs fail to confront Amgen’s arguments head-on or the reasoning of the precedent on which

Amgen relies. Accordingly, their arguments should be rejected.

        1. EPPs first contend that because the named plaintiffs have pled Article III standing for some

claims—specifically, the claims based on purchases in states where the named plaintiffs reside or

reimbursed payments—the named plaintiffs have necessarily pled Article III standing for all claims.

Opp. at 3. But Supreme Court and Third Circuit precedent makes clear that “[s]tanding requires that the

party seeking to invoke federal jurisdiction ‘demonstrate standing for each claim he seeks to press.’”

Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353, 359 (3d Cir. 2015) (quoting DaimlerChrysler Corp.

v. Cuno, 547 U.S. 332, 352 (2006)) (emphasis added). EPPs observe that Neale did not require

“‘individual standing of all class members’” (Opp. at 4 (quoting Neale, 794 F.3d at 364–65)), but

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Amgen’s argument is not that all class members must have standing. Instead, Amgen argues that

standing exists only where “at least one named plaintiff has standing,” which is precisely what Neale

holds. Neale, 794 F.3d at 359, 364 (emphasis added).1 The Third Circuit has agreed by dismissing a

claim where absent class members allegedly had standing but named plaintiffs did not. See Long v. Se.

Pa. Transp. Auth., 903 F.3d 312, 325 (3d Cir. 2018).

        EPPs attempt an end run around DaimlerChrysler by arguing that a named plaintiff need not

have standing to assert claims held by absent class members because “a plaintiff’s ability to represent the

claims held by absent class members is not ‘an Article III jurisdictional issue.’” Opp. at 3–4. The cases

EPPs cite misinterpret a footnote in Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 97 n.2 (1988).

The footnote, which addressed Justice Stevens’s disagreement with the proposition that courts may not

“determine whether a cause of action exist[s] before determining that the plaintiff ha[s] Article III

standing,” observed that whether a plaintiff has suffered an Article III injury “has nothing to do with the

text of the statute relied upon.” Id. at 96–97 & n.2. That footnote does not affect Amgen’s argument.

That the analysis of named plaintiffs’ Article III standing is different from analyzing the merits of a claim

does not mean that “plaintiffs’ standing to pursue state law claims on behalf of absent class members is

not an Article III jurisdictional issue.” E.g., In re Thalomid & Revlimid Antitrust Litig., 2015 WL

9589217, at *19 (D.N.J. Oct. 29, 2015). That would conflict with DaimlerChrysler and Third Circuit

decisions describing it—a problem not addressed by courts that have misinterpreted the Steel Co.

footnote.

        Moreover, EPPs’ argument erroneously equates injury-in-fact with standing, ignoring that


1
  EPPs make a similar observation about Cottrell v. Alcon Labs., which holds that “[i]n the context
of class actions, Article III standing is determined vis-à-vis the named parties.” Opp. at 3 (quoting
Cottrell, 874 F.3d 154, 162 n.5 (3d Cir. 2017)). That is the very proposition Amgen relies on; i.e., it
is the standing of the named plaintiffs, not other parties not before the Court, that matters.


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standing also requires causation and redressability. Redressability definitely does depend on “the text of

the statute.” See Harris v. Blueray Techs. S’holders, Inc., 669 F. Supp. 2d 1225, 1229–30 (E.D. Wash.

2009) (“An injury is not redressable if the statute upon which the plaintiff is relying for a remedy does

not provide the specific relief he is seeking.”). In Steel Co. itself, the plaintiff lacked standing because

the statute did not provide redress of the injury. See 523 U.S. at 106–07 (no redressability because

statute authorized penalty payable to the U.S. Treasury rather than to plaintiff); see also Duquesne Light

Co. v. EPA, 166 F.3d 609, 613 (3d Cir. 1999).

        Here, the named plaintiffs lack Article III standing to bring claims under the laws of the states in

which they made no purchases because, in those states, the named plaintiffs suffered no injury-in-fact

and thus there is no causal relationship between the injury and the state, and the state law offers no

redress. See, e.g., In re Wellbutrin XL Antitrust Litig., 260 F.R.D. 143, 152–53 (E.D. Pa. 2009) (“For

example, a plaintiff whose injuries have no causal relation to Pennsylvania, or for whom the laws of

Pennsylvania cannot provide redress, has no standing to assert a claim under Pennsylvania law, although

it may have standing under the law of another state.”).2 Named plaintiffs have not argued that the laws

of a state in which they did not make purchases could provide them redress, and thus they have not

satisfied their burden to establish standing for each claim they seek to press, as numerous courts have

held. Br. at 5–6 (collecting cases).

        2. EPPs also rely on cases that assumed a redressable injury was required in each state but

deferred deciding standing until class certification because, at that point, plaintiffs could be identified in


2
  See also In re Packaged Seafood Prod. Antitrust Litig., 242 F. Supp. 3d 1033, 1096 (S.D. Cal.
2017) (“[R]ecovery by a named North Carolina Plaintiff and corresponding putative North Carolina
class will in no way redress the alleged injury to a named New York Plaintiff and corresponding
putative New York class.”); In re Terazosin Hydrochloride Antitrust Litig., 2002 WL 35651679, at
*3 (S.D. Fla. Sept. 12, 2002) (“Plaintiffs must allege that at least one named Plaintiff suffered a
legally redressable injury for each state.”).


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other states and they could provide the necessary standing. See Opp. 3–4 & n.4 (citing cases such as In

re Liquid Aluminum Sulfate Antitrust Litig., 2017 WL 3131977, at *19 (D.N.J. July 20, 2017)). These

cases misread Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997), as Amgen’s opening brief

warned, yet EPPs do not provide any analysis why Amgen’s straightforward reading of Amchem is

incorrect.

        As explained in Amgen’s opening brief, standing “is the threshold question in every federal

case.” Warth v. Seldin, 422 U.S. 490, 498 (1975). In class actions, “[t]he initial inquiry . . . is whether

the lead plaintiff individually has standing, not whether or not other class members have standing.”

Winer Family Trust v. Queen, 503 F.3d 319, 326 (3d Cir. 2007). Amchem recognized a narrow

circumstance in which a certain standing issue not presented here could be deferred until the class

certification stage. Amchem held that class certification was “logically antecedent” to determining the

standing of absent class members, which made sense because absent class members are not part of a case

unless a class is certified. 521 U.S. at 612. Amchem was not addressing the threshold issue—the

standing of named plaintiffs. See Br. at 7–8 (collecting cases). EPPs do not respond to this reading of

Amchem, instead continuing to cite cases that misinterpreted “logically antecedent” as simply “efficient”

or “makes logical sense.” Opp. at 3–4.

        In sum, EPPs are asking the Court to either (i) ignore the standing requirements imposed by

DaimlerChrysler and Neale, or (ii) assume there is Article III standing rather than making that

“threshold” determination. The Court should reject both attempts to erode Article III standing and

dismiss EPPs’ claims in states in which named plaintiffs made no purchases or reimbursements.

II.     Many of the Claims That Are Not Barred for Lack of Standing Have Fatal Flaws

        A.      Monopolization Claims Against Unilateral Conduct Should Be Dismissed

       EPPs do not contest that neither New York nor Tennessee law permits a claim for unilateral

conduct. Opp. at 6. Although EPPs assert that they have alleged concerted action, the Complaint alleges

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 a “monopolization and monopolistic scheme,” and refers repeatedly to “Amgen’s scheme” rather than to

 concerted action. Compl. ¶¶ 132–36. The Complaint should be dismissed to the extent it alleges a

 unilateral monopolization claim under New York or Tennessee law.

         B.      Unjust Enrichment Claims That Circumvent Statutory Prohibitions

         EPPs do not dispute that “the vast majority of courts have held that indirect purchasers may not

 bring state claims for unjust enrichment if they otherwise would be barred from bringing a claim under

 that state’s antitrust and consumer-protection statutes.” In re Niaspan Antitrust Litig., 42 F. Supp. 3d

 735, 763 (E.D. Pa. 2014); see also Br. at 9 (collecting cases). The Court should thus dismiss the Florida

 and Pennsylvania unjust enrichment claims. EPPs’ distinction between an equitable claim and a

 statutory claim (see Opp. at 13) is immaterial to the reasoning of “the vast majority of courts”

 considering the issue, which hold that permitting circumvention of statutory prohibitions on an indirect

 purchaser suit “would undermine state legislative policies.” In re Flonase Antitrust Litig., 692 F. Supp.

 2d 524, 542 n.13 (E.D. Pa. 2010). Neither of the cases on which EPPs rely (see Opp. at 13)

 acknowledged, much less refuted, this reasoning.

         C.      EPPs Lack a Sufficiently Direct Relationship for Unjust Enrichment Claims

         States limit defendants in unjust enrichment claims to those that had a certain relationship with

 plaintiffs. EPPs are indirect purchasers, meaning they paid entities that had already purchased Sensipar®

 from Amgen. EPPs point out that some courts permitted claims against defendants that received an

 indirect benefit (Opp. at 14–15), but the better-reasoned cases support Amgen’s argument. Because

 EPPs do not allege their payments for Sensipar® passed through to Amgen, it is implausible that Amgen

 “received financial benefits at the expense of [EPPs],” Compl. ¶ 164, in a sufficiently direct way to




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 recover under the laws of Florida,3 New York,4 or Pennsylvania.5

         D.      Duplicative Unjust Enrichment Claims Should Be Dismissed

         EPPs do not point to any law that prevents this Court from exercising its discretion to dismiss

 unjust enrichment claims that duplicate a statutory claim. This Court should follow those courts that

 streamline unwieldy indirect purchaser complaints by dismissing unjust enrichment claims where the

 elements that would result in liability are effectively the same as a statutory claim and there is not an

 independent legal reason to dismiss the statutory claim. See Br. at 10–11.6

 III.    Many of EPPs’ Claims For Which They Lack Standing Have Additional Fatal Flaws

         In addition to the absence of subject matter jurisdiction, many of the claims alleged under the

 laws of states where the named plaintiffs lack standing fail for independent reasons.

         A. Three States Only Allow Claims by Consumers, Not Third-Party Payors

         1. Massachusetts. Massachusetts does not allow indirect purchaser claims by “persons engaged

 in trade or commerce,” i.e., “motivated by business considerations.” In re Loestrin 24 FE Antitrust

 Litig., 2019 WL 5406077, at *7 (D.R.I. Oct. 17, 2019) (quoting Frullo v. Landenberger, 814 N.E.2d

 1105, 1112 (Mass. App. Ct. 2004)). EPPs rely on a federal case construing Frullo to allow suit by

 indirect purchasers “not motivated by the desire to make money.” In re Pharm. Indus. Average

 3
   EPPs cite cases pre-dating Kopel v. Kopel, 229 So. 3d 812, 818 (Fla. 2017), which expressly
 approved a case that dismissed an unjust enrichment claim because the defendant received the
 plaintiffs’ payment from an intermediary, Peoples Nat’l Bank of Commerce v. First Union Nat’l
 Bank of Florida, N.A., 667 So.2d 876, 879 (Fla. Dist. Ct. App. 1996).
 4
   The case EPPs cite involving an indirect purchase, Cox v. Microsoft Corp., 778 N.Y.S.2d 147
 (App. Div. 2004), did not address whether defendant received the claimed payment. Other courts
 interpret New York law to prohibit indirect purchaser recovery from a manufacturer. Br. at 10.
 5
   The only state case EPPs cite does not contradict Amgen’s cited authority, Br. at 10, because it
 allowed the claim where the plaintiff provided the direct benefit of “increase in market share.”
 Commonwealth v. TAP Pharm. Prods., Inc., 885 A.2d 1127, 1137–38 (Pa. Commw. Ct. 2005).
 6
  If there is an independent legal reason to dismiss the duplicative statutory claim, the Court should
 dismiss the unjust enrichment claim so as not to circumvent statutory limitations. See supra § II.B.


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 Wholesale Price Litig., 491 F. Supp. 2d 20, 82 (D. Mass. 2007). Later courts have rejected this reasoning

 because a benefit plan’s purchases are “motivated by business considerations” regardless of the desire to

 make money. Loestrin, 2019 WL 5406077, at *7; In re Aggrenox Antitrust Litig., 2016 WL 4204478, at

 *8–9 (D. Conn. Aug. 9, 2016).

         2. Missouri. EPPs argue that Missouri law allows claims by entities if the “nature and intended

 use of the merchandise” is personal, regardless the purpose of the purchase. Opp. at 9. But entities can

 sue only for purchases of a product for their personal use. See Br. at 12 (collecting cases). EPPs’ only

 authority, FTC v. Mylan Labs., Inc., interpreted Michigan’s statute and applied it to Missouri’s statute

 without further analysis. 62 F. Supp. 2d 25, 48–49 (D.D.C. July 7, 1999).

         3. Vermont. EPPs only assert generally that the Vermont statute allows antitrust and consumer

 protection claims, but offer no rationale or citation contradicting the plain language of the Vermont

 statute or the authority on which Amgen relies, both of which plainly limit Vermont’s consumer

 protection law to purchases for personal use. See Br. at 12.

         EPPs theorize that some consumers may be included in the putative class and therefore these

 statutes permit EPPs’ claim. But even if this assumption is true, dismissal is appropriate because no

 named plaintiff has statutory standing to assert the claims. See Br. at 11–12; Shirokov v. Dunlap, Grubb

 & Weaver, PLLC, 2012 WL 1065578, at *33 n.25 (D. Mass. Mar. 27, 2012).

         B.      Only Citizens or Residents of Utah Can Bring a Claim Under Utah Law

         EPPs concede named plaintiffs cannot recover under Utah law because they are not citizens or

 residents of Utah. Opp. at 10. This lack of statutory standing requires dismissal. See § III.A.

         C.      Certain Claims for Unilateral Monopolization Should Be Dismissed

        EPPs seek to avoid the prohibition on claims for unilateral monopolization under California,

 Kansas, and Mississippi law by claiming to allege concerted action. EPPs’ monopolization claims under

 these laws should be dismissed to the extent based on unilateral action. See Br. at 12–13 (citing cases).

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         D.      Certain States’ Statutes Prohibit Indirect Purchaser Class Actions Here

         EPPs attempt to avoid Hawaii’s and Illinois’s limitations on indirect purchaser class actions by

 asserting the plurality opinion in Shady Grove Orthopedic Associates, P.A. v. Allstate Insurance Co., 559

 U.S. 393 (2010), allows federal class actions regardless of state law prohibitions. But the plurality

 opinion was not the governing opinion in that case and is inconsistent with the opinion that does govern.

 Five justices held that a state procedural rule could apply in federal court in certain circumstances, and

 because Justice Stevens’s opinion concurring in the judgment was the narrowest ground, “the majority of

 courts attempting to apply Shady Grove likewise have concluded that Justice Stevens’ concurrence

 controls.” Davis v. Ace Hardware Corp., 2014 WL 688132, at *15 n.10 (D. Del. Feb. 21, 2014),

 recommendation adopted, 2014 WL 1457852 (D. Del. Apr. 11, 2014) (citation omitted); see also Br. at

 13 (collecting cases).

         EPPs do not dispute that if Justice Stevens’s opinion governs, Hawaii’s and Illinois’s limitations

 apply in federal court. Thus, the Court should dismiss the Illinois claim because the statute prohibits

 private antitrust actions by indirect purchasers, Br. at 15, a point EPPs appear to concede, and dismiss the

 Hawaii claim because EPPs did not notify the Hawaii attorney general of their lawsuit until after serving

 Amgen,7 and thus EPPs never received the right to sue that comes from the attorney general deciding not

 to take over litigating the case. Br. at 13–15 (citing authorities).

         E.      Plaintiffs Cannot Bring a Claim in States That Require Intrastate Misconduct

         EPPs misfire in attempting to save their claims under the laws of four states that require more

 than merely an effect on state commerce: Mississippi, Nevada, South Dakota, and West Virginia. Br. at

 16. None of EPPs’ cases address that the statutes in Nevada, South Dakota, and West Virginia require


 7
  EPPs notified the attorney general in April 2019, Opp. at 11, but sued beforehand. Compl., No. 19-
 cv-369, ECF 1 (D. Del. Feb. 21, 2019); Compl., No. 19-cv-8561, ECF 1 (D.N.J. Mar. 14, 2019).


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 the conduct to occur in the state. Opp. at 7–8.8 Regarding Mississippi, EPPs cite In re Intel Corp.

 Microprocessor Antitrust Litigation, which recognized that the statute applies only if the transactions at

 issue occurred wholly within Mississippi, as opposed to with an out-of-state company. 496 F. Supp. 2d

 404, 413 (D. Del. 2007). EPPs do not allege that.

         F.      Plaintiffs Allege Invalid Claims Under California Law

         EPPs attempt to save their UCL claims by clarifying they seek restitution instead of damages,

 Opp. at 19, but a clarification in a brief is insufficient. The Court should instead dismiss the invalid UCL

 claims for damages. Additionally, EPPs’ attempt to assert a standalone unjust enrichment claim is

 against the strong weight of authority. Br. at 17.

         G.      Unjust Enrichment Claims That Circumvent Statutory Prohibitions

         For the reasons in § II.B, the Court should dismiss the claims identified in Br. at 17–18.

         H.      EPPs Lack a Sufficiently Direct Relationship for Unjust Enrichment Claims

         As explained in § II.C, because Amgen did not receive what EPPs paid, EPPs lack the

 relationship required to bring unjust enrichment claims in the following states. Br. at 18–19.

        Alabama. EPPs cite Jewett v. Boihem, 23 So. 3d 658, 662 (Ala. 2009), which is distinguishable
         because it involved a payment to a company “sole[ly] owne[d] and manage[d]” by the defendant.
         The benefit must be “realized as a direct result of the transaction.” Opelika Prod. Credit Ass’n v.
         Lamb, 361 So.2d 95, 99 (Ala. 1978).
        Georgia. EPPs’ cases involved an intermediary who passed on part of a payment to defendant.
         Bolinger v. FMLS, Inc., 838 F. Supp. 2d 1340, 1366 (N.D. Ga. 2012); Chartis Ins. Co. of Can. v.
         Freeman, 2013 WL 12121864, at *8 (S.D. Ga. Mar. 18, 2013).
        Idaho. EPPs cite state cases pre-dating Stevenson v. Windermere Real Estate/Capital Grp., Inc.,
         275 P.3d 839, 842–44 (Idaho 2012), which rejected a claim where the intermediary had
         discretion how to spend what plaintiff paid.




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   EPPs attempt to distinguish In re Cast Iron Soil Pipe & Fittings Antitrust Litigation, but the
 holding’s basis was, like here, that the allegations did not show “any connection between the
 individual state and the wrongful conduct.” 2015 WL 5166014, at *26 (E.D. Tenn. June 24, 2015).


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        Kansas. In the only state cases EPPs cite, the defendant received the benefit plaintiff provided.
         Sec. Benefit Life Ins. Corp. v. Fleming Cos., 908 P.2d 1315, 1323 (Kan. Ct. App. 1995);
         Peterson v. Midland Nat’l Bank, 747 P.2d 159, 166–67 (Kan. 1987).
        Kentucky. EPPs cite no state case, and the federal cases cited pre-date Kentucky federal cases
         that held “requiring the plaintiff to show a direct conferral of a benefit is the better approach.”
         Lewis v. Jones, 2018 WL 5043773, at *5 (E.D. Ky. Oct. 17, 2018).
        Maine. EPPs cite state cases pre-dating Rivers v. Amato, 2001 WL 1736498, at *4 (Me. Super.
         Ct. 2001), which held, “No authority can be found for this ‘indirect benefit’ theory.”
        Michigan. EPPs reference federal cases citing state cases that allowed a claim where the
         defendant was in contact with the plaintiff and actually received the benefit plaintiff provided. A
         later state case, A & M Supply Co. v. Microsoft Corp., dismissed a claim for lack of direct contact
         and lack of a “direct payment” from the “indirect purchasers.” 2008 WL 540883, at *2 (Mich.
         Ct. App. Feb. 28, 2008).
        New Jersey. EPPs cite no state case, and the federal cases cited pre-date New Jersey federal
         cases that surveyed state law and held “a direct relationship is required.” Block v. Jaguar Land
         Rover N. Am., LLC, 2016 WL 3032682, at *4 (D.N.J. May 26, 2016).
        North Carolina. Although recent state cases have allowed an indirect benefit, those courts
         recognize that “‘conferr[ing] some benefit on the defendant’” is required, which EPPs do not
         plead here. Bandy v. Gibson, 2017 WL 3207068, at *5 (N.C. Super. Ct. July 26, 2017).
        North Dakota. EPPs cite state cases pre-dating Apache Corp. v. MDU Res. Grp., Inc., 603
         N.W.2d 891, 895 (N.D. 1999), which required that the defendant receive a “benefit at the direct
         expense of the [plaintiff],” and dismissed a claim for lack of such a relationship.
        Rhode Island. In the only case EPPs cite, the defendant actually received the benefit plaintiff
         provided. Walco Power Servs. v. Maplehurst Farm, Inc., 1987 WL 859455, at *2 (R.I. Super.
         Ct. Sept. 3, 1987). A more recent case held that receiving an “indirect benefit” was insufficient.
         J.P. Morgan Chase Bank, N.A. v. Leigh, 2011 WL 4351584, at *2 (D.R.I. Aug. 23, 2011),
         recommendation adopted, 2011 WL 4351561 (D.R.I. Sept. 15, 2011).

         I.      Duplicative Unjust Enrichment Claims Should Be Dismissed.

         For the reasons in § II.D, the Court should dismiss duplicative unjust enrichment claims.

                                             CONCLUSION

         EPPs’ Complaint should be dismissed in its entirety for the reasons explained in Amgen’s Brief

 in Support of its Motion to Dismiss Direct Purchaser Plaintiffs’ Consolidated Complaint. In addition,

 EPPs’ lack of standing and failure to state a claim require dismissal of EPPs’ claims under the laws of all

 states and territories except the consumer protection claim under Florida law and the statutory antitrust

 claims under New York and Tennessee law.

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 January 10, 2020




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 10, 2020, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on January 10,

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